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                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF ARKANSAS
                          FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                           PLAINTIFF

VS.                      CASE NO. 5:15CR50067-003

KALEB MAESTRI                                                      DEFENDANT


             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

      Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and (3),

Local Rule 72.1 ¶ XII, and General Order No. 40, this matter was

referred to the undersigned for the purposes of conducting a waiver

of indictment and plea hearing pursuant to Rule 7(b) and Rule 11 of

the Federal Rules of Criminal Procedure.                Such a hearing was

conducted on December 14, 2015, and, pursuant to a written plea

agreement, the Defendant, Kaleb Maestri, waived indictment and

entered a plea of guilty to the information charging him with two

counts of using a communication facility, namely, a cell phone, in

facilitating a felony drug offense, namely, the distribution of

methamphetamine, in violation of 21 U.S.C. § 843(b).                      After

conducting the hearing in the form and manner prescribed by Rule

7(b) and Rule 11, the undersigned finds:

      1.    The Defendant, after consultation with his counsel, has

knowingly and voluntarily waived indictment and consented, both in

writing in the plea agreement and on the record at the hearing, to

the entry of his guilty plea to an information before the
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undersigned, with the plea being subject to final approval by

District Judge Timothy L. Brooks.

      2.    The Defendant and the Government have entered into a

written plea agreement which has been disclosed in open court

pursuant to Rule 11(c)(2), and the undersigned has directed that

the plea agreement be filed.

      3.    The Defendant is fully competent and capable of entering

an informed plea; the Defendant is aware of the nature of the

charges, the applicable maximum penalties, and the consequences of

the plea; the Defendant is fully satisfied with his counsel and has

had sufficient time to consult with him; and the plea of guilty is

a knowing and voluntary plea supported by an independent basis in

fact containing each of the essential elements of the offenses.

      4.    The   Defendant     understands     his     constitutional      and

statutory rights and wishes to waive these rights.

      5.    The parties were informed, both in writing in the plea

agreement and on the record at the hearing, of their right to file

written objections within fourteen (14) days after receipt of this

Report and Recommendation.        To expedite acceptance of the guilty

plea, the parties waived, both on the record and in writing in the

plea agreement, their right to file objections.

      Based on the foregoing, the undersigned recommends that the

guilty plea be accepted and that the written plea agreement be

tentatively approved, subject to final approval at sentencing.
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      DATED this 14th day of December, 2015.



                                          /s/ Erin L. Setser
                                          HON. ERIN L. SETSER
                                          UNITED STATES MAGISTRATE JUDGE
